          Case:4:20-cv-02180-JST
          Case  21-15602, 03/08/2022, ID: 12389377,
                                  Document          DktEntry:
                                             101 Filed        27, Page
                                                       03/08/22   Page11of
                                                                         of11




                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                          MAR 8 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
JANICE ALTMAN; et al.,                           No.   21-15602

                  Plaintiffs-Appellants,         D.C. No. 4:20-cv-02180-JST
                                                 Northern District of California,
    v.                                           Oakland

COUNTY OF SANTA CLARA; et al.,                   ORDER

                  Defendants-Appellees,

and

COUNTY OF ALAMEDA; et al.,

                  Defendants.

         This appeal shall be held in abeyance pending the issuance of the mandate in

20-56220, McDougall v. County of Ventura; or upon further of this court.




                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: Halina Larman
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7




2
